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 1
     ANTHONY P. CAPOZZI, CSBN: 068525
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. SHAW AVE., SUITE 102
 3   FRESNO, CALIFORNIA 93711
     PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5

 6   ATTORNEY FOR Defendant,
     JOSEPH NOLAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11   UNITED STATES OF AMERICA,                           Case No.: 1:10-CR-00131-AWI
12
                    Plaintiff,                           STIPULATION AND ORDER TO
13                                                       CONTINUE SENTENCING
            v.
14                                                       Date: January 26, 2015
     JOSEPH NOLAN,
15                                                       Time: 10:00am
                    Defendant.                           Courtroom: 2
16                                                       Hon. Anthony W. Ishii

17          Defendant, JOSEPH NOLAN, by and through his attorney of record, Anthony P.

18   Capozzi and the United States Attorney by and through their attorney of record, Karen A.

19   Escobar, hereby stipulate as follows:

20          1. By previous order, this matter was set for sentencing on January 26, 2015, at 10:00

21   a.m.

22          2. The parties agree and stipulate that Defendant requests this court to continue the

23   sentencing until March 30, 2015, at 10:00 a.m.

24          3. Additionally, the parties agree and stipulate, and request that the Court find the

25   following:

26                  a. The Defendant pled guilty on April 29, 2013. Ongoing negotiations have

27          been taking place between the Government and the Defendant. The parties anticipate

28          that by March 30, 2015, the required investigations and discovery will be completed.
                                                        1
                                 STIPULATION AND ORDER TO CONTINUE SENTENCING
                                          CASE NO.: 1:10-CR-00131-AWI
      Case 1:10-cr-00131-LJO Document 235 Filed 12/31/14 Page 2 of 2
 1               b. The parties request that Informal Objections be filed on March 9, 2015, and

 2            Formal Objections be filed on March 23, 2015.

 3                   c. The Government does not object to the continuances requested herein.

 4                                            Respectfully submitted,

 5   DATED:       December 30, 2014      By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
 6                                           Attorney for Defendant JOSEPH NOLAN
 7

 8
     DATED:       December 30, 2014      By: /s/Karen A. Escobar
 9                                           KAREN A. ESCOBAR
                                             Assistant United States Attorney
10

11

12                                              ORDER
13            For reasons set forth above, the continuance requested by the parties is granted
14   for good cause. The sentencing currently scheduled for January 26, 2015, at 10:00 a.m.
15   is continued to March 30, 2015, at 10:00 a.m. and the Informal Objections are due on
16   March 9, 2015, and Formal Objections be filed on March 23, 2015.
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18   IT IS SO ORDERED.

19   Dated:    December 31, 2014
                                                 SENIOR DISTRICT JUDGE
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                               STIPULATION AND ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:10-CR-00131-AWI
